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 16
 17
 18                         UNITED STATES DISTRICT COURT
 19            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 20
      GIANNI VERSACE S.R.L.,                     Case No. 2:19-cv-10074-PA-RAO
 21
                    Plaintiff and Counter-       DECLARATION OF PATRICK
 22                 Defendant,                   SOMERS IN SUPPORT OF
                                                 STIPULATION FOR TRIAL
 23            v.                                CONTINUANCE
 24 FASHION NOVA, INC.,                          Judge: Hon. Percy Anderson
                                                 Crtrm.: 9A
 25          Defendant and Counter-
             Claimant.
 26
 27
 28
      603299609.1                                                Case No. 2:19-CV-10074-PA-RAO
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  1          I, Patrick Somers, declare as follows:
  2          1.    I am a partner at the law firm Kendall Brill & Kelly LLP, representing
  3 Plaintiff and Counter-Defendant Gianni Versace S.r.l. (“Versace”). I have personal
  4 knowledge of the matters set forth in this declaration, or am informed and believe
  5 them to be true, and if called upon as a witness could and would testify competently
  6 to the matters herein.
  7          2.    I respectfully submit this declaration in support of the Parties’ joint
  8 stipulation for a trial continuance.
  9          3.    Two witnesses identified by Versace in its witness list, Francesca Bosio
 10 and Antonio Masciariello, are Italian citizens who presently reside in Milan, Italy.
 11 Mr. Masciariello is the Senior Manager of Heritage at Versace. Ms. Bosio is the
 12 Director of Intellectual Property at Versace.
 13          4.    On its witness list, Versace indicated these witnesses would be
 14 testifying in person. Versace still would prefer to have all witnesses testify in
 15 person.
 16          5.    Counsel for Defendant Fashion Nova, Inc. agrees that all witnesses
 17 should testify in person.
 18          6.    At present, the United States government has instituted and enforced a
 19 travel ban that prevents non-U.S. citizens from traveling to the United States from
 20 Italy.
 21          7.    Attached as Exhibit 1 is a true and correct copy of the January 25,
 22 2021 press release from President Biden announcing an Executive Order entitled
 23 “Promoting COVID-19 Safety in Domestic and International Travel” which
 24 prohibits person from the Schengen Area from traveling to the United States. The
 25 Schengen Area includes Italy.
 26          8.    Attached as Exhibit 2 is a true and correct copy of travel restrictions to
 27 the United States from the Centers for Disease Control and Prevention (“CDC”) as
 28 of June 4, 2021.

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  1         9.    Europe has announced that travel restrictions preventing United States
  2 citizens from traveling to Europe will be lifted sometime soon. To the best of my
  3 knowledge, however, the United States has not made any such reciprocal
  4 announcement with respect to European citizens traveling to the United States.
  5         10.   On May 29, 2020, the Parties requested an extension of previous pre-
  6 trial and trial deadlines in the case due to mandatory shutdown orders related to the
  7 COVID-19 pandemic. (Dkt. No. 40.) That request was denied on June 2, 2020.
  8 (Dkt. No. 41.)
  9         11.   On August 12, 2020, Fashion Nova filed an ex parte application to
 10 continue the trial and related pretrial deadlines (Dkt. No. 60), which was denied on
 11 August 13, 2020. (Dkt. No. 65.)
 12         12.   This trial continuance has been sought in good faith, and not in an
 13 effort to impose undue delay.
 14         13.   The Parties agree that no prejudice will result if the Court grants the
 15 joint stipulation for trial continuance.
 16
 17         I declare under penalty of perjury under the laws of the United States of
 18 America that the foregoing is true and correct.
 19         Executed this 4th day of June, 2021, in Los Angeles, CA.
 20
 21                                                 /s/ Patrick J. Somers
 22                                             Patrick J. Somers
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                                                                   BRIEFING ROOM



            Proclamation on the Suspension of Entry as Immigrants and Non-
             Immigrants of Certain Additional Persons Who Pose a Risk of
                          Transmitting Coronavirus Disease
                                                     JANUARY 25, 2021 • PRESIDENTIAL ACTIONS




      The Federal Government must act swiftly and aggressively to combat coronavirus disease 2019 (COVID-19). The
      national emergency caused by the COVID-19 outbreak in the United States continues to pose a grave threat to our
      health and security. As of January 20, 2021, the United States had experienced more than 24 million confirmed
      COVID-19 cases and more than 400,000 COVID-19 deaths. It is the policy of my Administration to implement
      science-based public health measures, across all areas of the Federal Government, to prevent further spread of the
      disease.


      The Centers for Disease Control and Prevention (CDC), within the Department of Health and Human Services,
      working in close coordination with the Department of Homeland Security, has determined that the Republic of
      South Africa is experiencing widespread, ongoing person-to-person transmission of SARS-CoV-2, the virus that
      causes COVID-19, including a variant strain of the virus known as B.1.351. The World Health Organization has
      reported that the Republic of South Africa has over 1,400,000 confirmed cases of COVID-19. Another variant
      strain, known as B.1.1.7, is widely circulating and has been traced to the United Kingdom. Furthermore, a third
      variant strain, which is known as B.1.1.28.1 and may impact the potential for re-infection, has been identified in
      Brazil. Based on developments with respect to the variants and the continued spread of the disease, CDC
      has reexamined its policies on international travel and, after reviewing the public health situations within the
      Schengen Area, the United Kingdom (excluding overseas territories outside of Europe), the Republic of Ireland, the
      Federative Republic of Brazil, and the Republic of South Africa, has concluded that continued and further measures
      are required to protect the public health from travelers entering the United States from those jurisdictions.


      In my Executive Order of January 21, 2021, entitled “Promoting COVID-19 Safety in Domestic and International
      Travel,” I directed the Secretary of Health and Human Services, including through the Director of CDC, and in
      coordination with the Secretary of Transportation (including through the Administrator of the Federal Aviation
      Administration) and the Secretary of Homeland Security (including through the Administrator of the Transportation
      Security Administration), to further examine certain current public health precautions for international travel and
      take additional appropriate regulatory action, to the extent feasible and consistent with CDC guidelines and
      applicable law.

                                                                Exhibit 1 Page 3
https://www.whitehouse.gov/briefing-room/presidential-actions/2021/01/25/proclamation-on-the-suspension-of-entry-as-immigrants-and-non-immigrant…   1/5
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      While that review continues, and given the determination of CDC, working in close coordination with the
      Department of Homeland Security, described above, I have determined that it is in the interests of the United States
      to take action to restrict and suspend the entry into the United States, as immigrants or nonimmigrants, of
      noncitizens of the United States (“noncitizens”) who were physically present within the Schengen Area, the United
      Kingdom (excluding overseas territories outside of Europe), the Republic of Ireland, the Federative Republic
      of Brazil, and the Republic of South Africa during the 14-day period preceding their entry or attempted entry into
      the United States.

      NOW, THEREFORE, I, JOSEPH R. BIDEN JR., President of the United States, by the authority vested in me by
      the Constitution and the laws of the United States of America, including sections 212(f) and 215(a) of the
      Immigration and Nationality Act, 8 U.S.C. 1182(f) and 1185(a), and section 301 of title 3, United States Code,
      hereby find that the unrestricted entry into the United States of persons described in section 1 of this proclamation
      would, except as provided for in section 2 of this proclamation, be detrimental to the interests of the United States,
      and that their entry should be subject to certain restrictions, limitations, and exceptions. I therefore hereby proclaim
      the following:

      Section 1. Suspension and Limitation on Entry. (a) The entry into the United States, as immigrants or
      nonimmigrants, of noncitizens who were physically present within the Schengen Area, the United Kingdom
      (excluding overseas territories outside of Europe), the Republic of Ireland, and the Federative Republic of Brazil
      during the 14-day period preceding their entry or attempted entry into the United States, is hereby suspended and
      limited subject to section 2 of this proclamation.
      (b) The entry into the United States, as immigrants or nonimmigrants, of noncitizens who were physically present
      within the Republic of South Africa during the 14-day period preceding their entry or attempted entry into the
      United States, is hereby suspended and limited subject to section 2 of this proclamation.
      Sec. 2. Scope of Suspension and Limitation on Entry.

      (a) Section 1 of this proclamation shall not apply to:


      (i)     any lawful permanent resident of the United States;


      (ii)    any noncitizen national of the United States;

      (iii) any noncitizen who is the spouse of a U.S. citizen or lawful permanent resident;


      (iv)     any noncitizen who is the parent or legal guardian of a U.S. citizen or lawful permanent resident, provided
      that the U.S. citizen or lawful permanent resident is unmarried and under the age of 21;


      (v)     any noncitizen who is the sibling of a U.S. citizen or lawful permanent resident, provided that both are
      unmarried and under the age of 21;



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https://www.whitehouse.gov/briefing-room/presidential-actions/2021/01/25/proclamation-on-the-suspension-of-entry-as-immigrants-and-non-immigrant…   2/5
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      (vi)     any noncitizen who is the child, foster child, or ward of a U.S. citizen or lawful permanent resident, or who is
      a prospective adoptee seeking to enter the United States pursuant to the IR-4 or IH-4 visa classifications


      (vii) any noncitizen traveling at the invitation of the United States Government for a purpose related to
      containment or mitigation of the virus;


      (viii) any noncitizen traveling as a nonimmigrant pursuant to a C-1, D, or C-1/D nonimmigrant visa as
      a crewmember or any noncitizen otherwise traveling to the United States as air or sea crew;

      (ix)     any noncitizen

      (A) seeking entry into or transiting the United States pursuant to one of the following visas: A-1, A-2, C-2, C-3 (as
      a foreign government official or immediate family member of an official), E-1 (as an employee of TECRO or TECO
      or the employee’s immediate family members), G-1, G-2, G-3, G-4, NATO-1 through NATO-4, or NATO-6 (or
      seeking to enter as a nonimmigrant in one of those NATO categories); or

      (B) whose travel falls within the scope of section 11 of the United Nations Headquarters Agreement;

      (x)     any noncitizen who is a member of the U.S. Armed Forces and any noncitizen who is a spouse or child of a
      member of the U.S. Armed Forces

      (xi)     any noncitizen whose entry would further important United States law enforcement objectives, as determined
      by the Secretary of State, the Secretary of Homeland Security, or their respective designees, based on a
      recommendation of the Attorney General or his designee; or


      (xii) any noncitizen whose entry would be in the national interest, as determined by the Secretary of State, the
      Secretary of Homeland Security, or their designees.


      (b) Nothing in this proclamation shall be construed to affect any individual’s eligibility for asylum, withholding of
      removal, or protection under the regulations issued pursuant to the legislation implementing the Convention Against
      Torture and Other Cruel, Inhuman or Degrading Treatment or Punishment, consistent with the laws and regulations
      of the United States.


      Sec. 3. Implementation and Enforcement. (a) The Secretary of State shall implement this proclamation as it
      applies to visas pursuant to such procedures as the Secretary of State, in consultation with the Secretary of
      Homeland Security, may establish. The Secretary of Homeland Security shall implement this proclamation as it
      applies to the entry of noncitizens pursuant to such procedures as the Secretary of Homeland Security, in
      consultation with the Secretary of State, may establish.


      (b) The Secretary of State, the Secretary of Transportation, and the Secretary of Homeland Security shall ensure
      that any noncitizen subject to this proclamation does not board an aircraft traveling to the United States, to the
                                                                Exhibit 1 Page 5
https://www.whitehouse.gov/briefing-room/presidential-actions/2021/01/25/proclamation-on-the-suspension-of-entry-as-immigrants-and-non-immigrant…   3/5
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      extent permitted by law.

      (c) The Secretary of Homeland Security may establish standards and procedures to ensure the application of this
      proclamation at and between all United States ports of entry.


      (d) Where a noncitizen circumvents the application of this proclamation through fraud, willful misrepresentation of
      a material fact, or illegal entry, the Secretary of Homeland Security shall consider prioritizing such noncitizen for
      removal.

      Sec. 4. Termination. This proclamation shall remain in effect until terminated by the President. The Secretary of
      Health and Human Services shall, as circumstances warrant and no more than 30 days after the date of this
      proclamation and by the final day of each calendar month thereafter, recommend whether the President should
      continue, modify, or terminate this proclamation.


      Sec. 5. Amendment. Section 5 of Proclamation 9984 of January 31, 2020 (Suspension of Entry as Immigrants and
      Nonimmigrants of Persons Who Pose a Risk of Transmitting 2019 Novel Coronavirus and Other Appropriate
      Measures To Address This Risk), and section 5 of Proclamation 9992 of February 29, 2020 (Suspension of Entry as
      Immigrants and Nonimmigrants of Certain Additional Persons Who Pose a Risk of Transmitting 2019 Novel
      Coronavirus), are each amended to read as follows:


      “Sec. 5. Termination. This proclamation shall remain in effect until terminated by the President. The Secretary of
      Health and Human Services shall, as circumstances warrant and no more than 30 days after the date of the
      Proclamation of January 25, 2021, entitled “Suspension of Entry as Immigrants and Nonimmigrants of Certain
      Additional Persons Who Pose a Risk of Transmitting Coronavirus Disease 2019,” and by the final day of each
      calendar month thereafter, recommend whether the President should continue, modify, or terminate this
      proclamation.”

      Sec. 6. Effective Dates. (a) The suspension and limitation on entry set forth in section 1(a) of this proclamation is
      effective at 12:01 a.m. eastern standard time on January 26, 2021. The suspension and limitation on entry set forth
      in section 1(a) of this proclamation does not apply to persons aboard a flight scheduled to arrive in the United States
      that departed prior to 12:01 a.m. eastern standard time on January 26, 2021.


      (b) The suspension and limitation on entry set forth in section 1(b) of this proclamation is effective at 12:01 a.m.
      eastern standard time on January 30, 2021. The suspension and limitation on entry set forth in section 1(b) of this
      proclamation does not apply to persons aboard a flight scheduled to arrive in the United States that departed prior to
      12:01 a.m. eastern standard time on January 30, 2021.


      Sec. 7. Severability. It is the policy of the United States to enforce this proclamation to the maximum extent
      possible to advance the national security, public safety, and foreign policy interests of the United States.
      Accordingly:

                                                                Exhibit 1 Page 6
https://www.whitehouse.gov/briefing-room/presidential-actions/2021/01/25/proclamation-on-the-suspension-of-entry-as-immigrants-and-non-immigrant…   4/5
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      (a) if any provision of this proclamation, or the application of any provision to any person or circumstance, is held
      to be invalid, the remainder of this proclamation and the application of its provisions to any other persons or
      circumstances shall not be affected thereby; and


      (b) if any provision of this proclamation, or the application of any provision to any person or circumstance, is held
      to be invalid because of the lack of certain procedural requirements, the relevant executive branch officials shall
      implement those procedural requirements to conform with existing law and with any applicable court orders.

      Sec. 8. General Provisions. (a) Nothing in this proclamation shall be construed to impair or otherwise affect:


      (i) the authority granted by law to an executive department or agency, or the head thereof; or


      (ii) the functions of the Director of the Office of Management and Budget relating to budgetary, administrative, or
      legislative proposals.


      (b) This proclamation shall be implemented consistent with applicable law and subject to the availability of
      appropriations.

      (c) This proclamation is not intended to, and does not, create any right or benefit, substantive or procedural,
      enforceable at law or in equity by any party against the United States, its departments, agencies, or entities, its
      officers, employees, or agents, or any other person.


      IN WITNESS WHEREOF, I have hereunto set my hand this twenty-fifth day of January, in the year of our Lord
      two thousand twenty-one, and of the Independence of the United States of America the two hundred and forty-fifth.

                                                                                                                     JOSEPH R. BIDEN JR.




                                                                Exhibit 1 Page 7
https://www.whitehouse.gov/briefing-room/presidential-actions/2021/01/25/proclamation-on-the-suspension-of-entry-as-immigrants-and-non-immigrant…   5/5
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                   EXHIBIT 2
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           COVID-19

           IF YOU ARE FULLY VACCINATED
           Find new guidance for fully vaccinated people. If you are not vaccinated, find a vaccine.




     Travelers Prohibited from Entry to the United States
     Updated Apr. 30, 2021                     Print



     Several Presidential proclamations established restrictions on the entry of certain travelers into the United States in an effort
     to help slow the spread of coronavirus disease 2019 (COVID-19).


                            With specific exceptions, several Presidential proclamations suspend and limit entry into the United States, as
                           immigrants or nonimmigrants, of noncitizens who were physically present within the following countries
                            during the 14-day period preceding their entry or attempted entry into the United States. For a full list of
                            exceptions, please refer to the relevant proclamations in the links below.


                               •    China 

                               •    Iran 

                               •    European Schengen area  (Austria, Belgium, Czech Republic, Denmark, Estonia, Finland, France,
                                    Germany, Greece, Hungary, Iceland, Italy, Latvia, Liechtenstein, Lithuania, Luxembourg, Malta,
                                    Netherlands, Norway, Poland, Portugal, Slovakia, Slovenia, Spain, Sweden, Switzerland, Monaco, San
                                    Marino, Vatican City)

                               •    United Kingdom  (England, Scotland, Wales, Northern Ireland)

                               •    Republic of Ireland 

                               •    Brazil 

                               •    South Africa 

                               •    India 



     As further provided in each proclamation, citizens and lawful permanent residents of the United States, certain family
     members, and other individuals who meet specified exceptions  , who have been in one of the countries listed above in the
     past 14 days will be allowed to enter the United States. More information about what to do after arriving to the United States
     is available on CDC’s After International Travel webpage.
                                                                                                                                                  Last Updated Apr. 30, 2021




                                                                                              Exhibit 2
                                                                                              Page 7
https://www.cdc.gov/coronavirus/2019-ncov/travelers/from-other-countries.html                                                                                                  1/1
